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                              UNITED STATES DISTRICT COURT
                                                                                          AUG 2 2019
                          FOR THE WESTERN DISTRICT OF-VIRGINIA
                                   DANVILLE DIVISION


    CHRISTEN WADDLE,                              )
                                                  )
                          Plaintiff,              )
                                                  )       Civil Action No. 4:18-cv-00010
    v.                                            )
                                                  )
    AUNDREA CLAUGHTON,                            )
                                                  )
    TODD MOSER,                                   )
                                                  )
    NICHOLAS D. JONES,                            )
                                                  )
    DRE D. TUCKER,                                )
                                                  )
                          Defendants.             )


                                          DISMISSAL ORDER

           It appearing to the Court that all matters in controversy in this suit have been resolved,

    Pursuant to Rule 4l(a) of the Federal Rules of Civil Procedure, this suit shall be, and hereby is,

    dismissed with prejudice.

           The Clerk is requested to forward a copy teste of this Order to counsel of record.

           ENTERED this     'f)r;D day of    ~~~SI                 , 2019.


                                                            ~/~£d K i?~A'l
                                                                             Judge
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    SEEN AND AGREED TO:


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   y    .S     /fyj~t.V'N\n)\ \
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